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                                                                                      FILED IN CHAMBERS

OR IGI ~JAL                    UNITED STATES DISTRICT COURT                             SEt.b~212'
                               NORTHERN DISTRICT OF GEORGIA                        U.S. MlffilST
                                     ATLANTA DIVISION                                   N.D. GEOR IA
   UNITED STATES OF AMERICA,

                          Plaintiff                     CRIMINAL CASE NO.:

          vs                                            1:12-CR-323

   EDWARD K. KIM,
                                                                         ISSUED AND DElIVERED
                          Defendant.                                     TO.U,S, MARSHA=. J
                                                                         BY,      A~.f?
                                                                                           ;;   U        CLERK
                      WRIT OF HABEAS CORPUS AD PROSEQUENDUM

   To:    Any U.S. Marshal, Warden, Forsyth County Detention and/or any other authorized
          officer.


          YOU ARE HEREBY COMMANDED to have the body of EDWARD K. KIM by you

   restrained of his liberty, as it is said, by whatsoever names detained before the Honorable E.

   Clayton Scofield, III, United States Magistrate Judge of the United States District Court for the

   Northern District of Georgia, at the Courtroom of said Court in the City of Atlanta, at 10:00 a.m.,

   on Friday, October 5,2012, and from day to day thereafter until discharged by the Court, then

   and there to be arraigned/tried on the indictment/information and receive and abide by the

   judgment of this Court in the above-entitled case, thence to be returned to the custody from

   which he came, and have you this writ.

          WITNESS the Honorable Judges of the United States District Court for the Northern

   District of Georgia, this 27th day of September, 2012.




   cc: AUSA, Joseph Plummer
       FDP, Duty
